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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDIANS PROTECTING
FREEDOM, INC.,

             Plaintiff,
v.                                            Case No.: 4:24cv419-MW/MAF

JOSEPH A. LADAPO and
JOHN WILSON,

          Defendants.
_________________________/

                  ORDER ACKNOWLEDGING DISMISSAL

      Plaintiff has filed a notice of voluntary dismissal with prejudice with respect

to its claims against Defendant John Wilson, under Federal Rule of Civil Procedure

41(a)(1)(A)(i). “Rule 41 allows a plaintiff to dismiss all of his claims against a par-

ticular defendant.” Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1106 (11th Cir.

2004). The notice is effective without an order. See Fed. R. Civ. P. 41(a)(1)(A).

However, this case remains pending against Defendant Joseph Ladapo, in his official

capacity as State Surgeon General and head of the Florida Department of Health.

      SO ORDERED on October 21, 2024.

                                        s/Mark E. Walker
                                        Chief United States District Judge
